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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

In the matter of:                       )
                                        )
UNITED STATES OF AMERICA,               )
                                        )
             Petitioner,                )
                                        )
      v.                                )      MISC. NO. 2:18-MC-3837-WKW
                                        )
JEFFERSON S. DUNN, in his               )
official capacity as Commissioner       )
of the Alabama Department of            )
Corrections,                            )
                                        )
                     Respondent.        )

                                    ORDER

      It is ORDERED as follows:

      (1)    The order of referral (Doc. # 3) is VACATED;

      (2)    Upon consideration of the United States of America’s Motion to

Withdraw Petition to Enforce Subpoena (Doc. # 42), the motion is GRANTED;

      (3)    The petition, as amended (Docs. # 1, 8), having been withdrawn, the

Clerk of the Court is DIRECTED to close this action.

      DONE this 19th day of June, 2019.

                                                  /s/ W. Keith Watkins
                                            UNITED STATES DISTRICT JUDGE
